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   EXHIBIT B
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                                                                                                                      East Selaukei, W 117D-3499
   THREE VILLAGE                                                                                                               I'hone (631)^3D-1980
CENTRAL SCHOOL DISTRICT                                                                                                           Fax (631) 730-19S5




   September 27, 2016




   Dear Ms.


   This letter is to inform you that your request for exemption from immunizations for your daughter,
                        has been approved. The District Registrar and Minnesauke Elementary School
   have been notified of this decision.

   In accordance with New York State Law and our district policy, in the event there is a case of
   measles, mumps or other contagious disease for which she is not iimnunized, she will be required to
   stay home until there is no chance of her contracting the disease.


   Please feel ftee to contact me if you have any questions in regards to this decision.


   Sincerely,




   Cc: Brian Biscari, Princip^
       Patricia Bove,RN /
       Lorraine Jordan, District Registrar




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